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     Ross Cornell, Esq. (SBN 210413)
 1   LAW OFFICES OF ROSS CORNELL, APC
 2
     Email: rc@rosscornelllaw.com
     5042 Wilshire Blvd., #46382
 3   Los Angeles, CA 90036
     Phone: (562) 612-1708
 4   Fax: (562) 394-9556
 5   Attorneys of Record for Plaintiff,
 6
     Bryan Estrada

 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   Bryan Estrada,                                   Case No. 5:20-cv-1463
11
                      Plaintiff,                      COMPLAINT
12

13
                      v.
14

15   Cherokee Funding, LLC; Dynamic Meds,
     Inc. and Does 1-10, inclusive,
16

17                    Defendants.
18

19         Plaintiff, Bryan Estrada, hereby complains and alleges as follows:
20

21                                 NATURE OF THE ACTION
22                1. This is an action seeking to remedy unlawful discrimination by
23   the Defendants against the Plaintiff in the Defendants’ places of public
24   accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
25
     12101, et seq.] (the “ADA”) and the Unruh Civil Rights Act [California Civil Code
26
     § 51, et seq.] (the “Unruh Act”).
27

28                                          -1-
                                          COMPLAINT
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 1
                                           PARTIES
 2                2. Plaintiff, Bryan Estrada, is a resident of the state of California
 3   who requires the use of a wheelchair for mobility purposes and who is therefore a
 4   “person with a disability” within the meaning of the ADA and Cal. Government
 5   Code § 12926.
 6                3. The Defendants (defined below) discriminated against
 7
     Plaintiff in the full and equal enjoyment of the goods, services, facilities,
 8
     privileges, advantages, or accommodations on the basis of Plaintiff’s disability at
 9
     the Subject Property (defined below) in violation of the ADA [42 U.S.C. §§
10
     12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
11
                  4. The Defendant’s failure to make reasonable modifications in
12
     policies, practices, or procedures when such modifications are necessary to afford
13

14
     goods, services, facilities, privileges, advantages, or accommodations to

15   individuals with disabilities prevented Plaintiff from enjoying fair and equal access
16   to the Subject Property (defined below) in violation of the ADA [42 U.S.C. §
17   12182(b)(2)(A)(ii)].
18                5. Defendant, Cherokee Funding, LLC, owns, operates, or leases
19   real property located at 4605 Wade Ave., Perris, CA 92571, also known as
20   Riverside County Assessor’s Parcel No. 314-100-068(the “Subject Property”).
21
                  6. Defendant, Dynamic Meds, Inc., owns, operates, or leases
22
     real property located at 4605 Wade Ave., Perris, CA 92571, also known as
23
     Riverside County Assessor’s Parcel No. 314-100-068(the “Subject Property”).
24
                  7. The Subject Property is a commercial facility open to the general
25
     public, is a public accommodation, and is a business establishment insofar as
26
     goods and/or services are made available to the general public thereat. Defendant
27

28                                            -2-
                                            COMPLAINT
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 1
     Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
 2   names and capacities are unknown to the Plaintiff. When their true names and
 3   capacities are ascertained, Plaintiff will amend this complaint by inserting their
 4   true names and capacities herein. Plaintiff is informed and believes and thereon
 5   alleges that each of the fictitiously named Defendants are responsible in some
 6   manner for the occurrences herein alleged, and that the harm to Plaintiff herein
 7
     alleged were proximately caused by those Defendants.
 8

 9
                                JURISDICTION AND VENUE
10
                   8.   This Court has jurisdiction over the subject matter of this action
11
     pursuant 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4) for
12
     violations of the ADA.
13

14
                   9.   This Court has supplemental jurisdiction over the state law

15   claims alleged herein under the Unruh Act because the state law claim is an
16   attendant and related cause of action that arises from the same nucleus of operative
17   facts and arising out of the same transaction or occurrence as the federal law
18   claims set forth herein.
19                 10. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
20   based on the fact that the real property that is the subject of this action is located in
21
     this district and the Plaintiff’s causes of action arose in this district.
22

23
                                   STATEMENT OF FACTS
24
                   11. Parking spaces, accessible aisles, paths of travel, signage,
25

26

27

28                                             -3-
                                             COMPLAINT
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 1
     doorways, service counters, customer areas and goods/services are among the
 2   facilities, privileges and advantages offered by the Defendants to patrons of the
 3   Subject Property.
 4                12.    The Subject Property does not comply with the minimum
 5   requirements of the ADA and is therefore not equally accessible to Plaintiff or
 6   similarly situated persons with mobility disabilities.
 7
                  13.    In November, 2019 and continuously from that time to the
 8
     Present, and currently, the Subject Property has not been in compliance with the
 9
     ADA (the “Barriers”):
10
                         A.    The Subject Property lacks the minimum required
11
     number of ADA compliant accessible parking spaces.
12
                         B.    There was no diagonal striped marking and no blue
13

14
     border around where an access aisle is supposed to exist adjacent to any designated

15   accessible parking space(s) serving the Subject Property.
16                       C.    The designated “accessible” parking space(s) and/or blue
17   striped access aisles provided at the Subject Property are smaller than permitted by
18   the ADA.
19                       D.    The designated “accessible” parking spaces at the Subject
20   Property do not provide accessible parking signage as required by the ADA.
21
     Among other things, they fail toprovide tow-away signage and “Minimum Fine
22
     $250” signage as required by the ADA and state law to beposted near the
23
     designated accessible parking space(s).
24
                         E.    The designated “accessible” parking spaces at the Subject
25
     Property do not provide the universal symbol of accessibility.
26

27

28                                           -4-
                                           COMPLAINT
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 1
                         F.    There is no twelve-inch high “NO PARKING” lettering
 2   on the blue-striped parking accessaisle(s) serving the Subject Property.
 3                       G.    There was no designated “van accessible” parking space
 4   with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
 5   going forward into the parking space and no sign or additional language stating
 6   “Van Accessible” below the symbol of accessibility located in a manner that is not
 7
     obstructed.
 8
                         H.    There were no accessible paths of travel from public
 9
     transportations stops, accessible parking, public streets and sidewalks to the
10
     building entrances serving the Subject Property.
11
                   14.   Plaintiff personally encountered one or more of the Barriers
12
     at the Subject Property in November, 2019.
13

14
                   15.   From November, 2019 to the present, the Plaintiff has been

15   deterred from the Subject Property because of his knowledge of the existence of
16   Barriers.
17                 16.   The existence of Barriers, the implementation of discriminatory
18   policies, practices and procedures, and other ADA violations at the Subject
19   Property caused Plaintiff difficulty, discomfort or embarrassment or reasonably
20   dissuaded or deterred Plaintiff from accessing the Subject Property on particular
21
     occasions between November, 2019 and the present.
22
                   17.   Plaintiff would like to return and patronize the Subject Property
23
     and use the business establishments thereat and intends to do so in the near future
24
     but will be deterred from doing so until all ADA violations are remediated.
25
                   18.   On information and belief, the remediation of violations
26

27

28                                           -5-
                                           COMPLAINT
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 1
     identified hereinabove, to be identified by the Defendants in discovery, and to be
 2   discovered by Plaintiff’s experts are all readily achievable in that the removal of
 3   them by the Defendants is and has been easily accomplishable without much
 4   difficulty or expense.
 5                19.    Defendants violated the ADA by failing to remove all mobility-
 6   related architectural barriers at the Subject Property. On information and belief,
 7
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
 8
     intentional because the barriers described herein are clearly visible and tend to be
 9
     obvious even to a casual observer and because the Defendants operate the Subject
10
     Property and have control over conditions thereat and as such they have, and have
11
     had, the means and ability to make the necessary remediation of access barriers if
12
     they had ever so intended.
13

14
                  20.    On information and belief, access barriers at the Subject

15   Property are being consciously ignored by the Defendants; the Defendants have
16   knowingly disregarded the ongoing duty to remove the Barriers in compliance with
17   the ADA. Plaintiff further alleges on information and belief that there are other
18   ADA violations and unlawful architectural barriers at the Subject Property that
19   relate to Plaintiff’s mobility disability that will be determined in discovery, the
20   remediation of which is required under the ADA.
21
                  21.    Plaintiff hereby seeks to remediate and remove all barriers
22
     related to his disability, whether presently known or unknown. As the court held
23
     in Doran v. 7-11. Inc., 506 F.3d 1191 (9th Cir. 2008):
24
           “[W]here a disabled person has Article III standing to bring a claim for
25
           injunctive relief under the ADA because of at least one alleged statutory
26         violation of which he or she has knowledge and which deters access to, or
           full use and enjoyment of, a place of public accommodation, he or she may
27
           conduct discovery to determine what, if any, other barriers affecting his or
28                                            -6-
                                            COMPLAINT
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 1
           her disability existed at the time he or she brought the claim. This list of
           barriers would then in total constitute the factual underpinnings of a single
 2         legal injury, namely, the failure to remove architectural barriers in violation
 3         of the ADA, which failure actually harmed the disabled person by deterring
           that disabled person from visiting a facility that otherwise would have been
 4
           visited at a definite future time, yielding Article III standing.”
 5

 6                22.    Even if strictly compliant barrier removal were determined to
 7   be structurally or otherwise impracticable, there are many alternative methods of
 8   providing accommodations that are readily apparent and that could provide a
 9   greater degree of accessibility to the Plaintiff and similarly situated persons but for
10   the Defendants’ discriminatory policies, practices and procedures and Defendants’
11   conscious indifference to their legal obligations and to the rights of persons with
12
     mobility disabilities. Defendants’ failure to implement reasonable available
13
     alternative methods of providing access violates the ADA [42 U.S.C. §
14
     12182(b)(2)(A)(v)].
15
                  23.    The violations and references to code sections herein are not
16
     all-inclusive. Plaintiff will amend this complaint to provide a complete description
17
     of the full scope of ADA violations after conducting a comprehensive expert site
18

19
     inspection and other discovery. For the purposes of this Complaint, Plaintiff
20   asserts that the barriers alleged herein violate one or more of the ADA’s
21   implementing regulations. The Defendants have maintained and continue to
22   maintain discriminatory policies, procedures and practices that disregard their
23   obligations under the ADA by allocating resources for physical improvements to
24   the Subject Property that were did not provide legally required accessibility
25
     improvements, by failing to conduct ADA self-inspections or create ADA
26
     compliance plans regarding the Subject Property, by causing alterations to be made
27
     to the Subject Property in disregard of ADA requirements, and for failing and
28                                           -7-
                                           COMPLAINT
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 1
     refusing to make necessary accommodations for persons with mobility disabilities
 2   at the Subject Property. Plaintiff seeks a declaration that the Defendants’ disability
 3   rights compliance policies, procedures and practices are discriminatory and violate
 4   the ADA.
 5                             FIRST CAUSE OF ACTION
 6                            Discrimination Based on Disability
                                 [42 U.S.C. §§ 12101, et seq.]
 7
                              By Plaintiff against all Defendants
 8

 9                24.    Plaintiff re-alleges and incorporates by reference as though
10   fully set forth herein the allegations contained in all prior paragraphs of this
11   complaint.
12
                  25.    The ADA obligates owners, operators, lessees and lessors of
13
     public accommodations to ensure that the privileges, advantages, accommodations,
14
     facilities, goods and services are offered fully and equally to persons with
15
     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
16
     12182(a)].
17
                  26.    Discrimination is defined in the ADA, inter alia, as follows:
18

19
                         A.     A failure to remove architectural barriers where such
20   removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
21   barriers are identified and described in the Americans with Disabilities Act
22   Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
23                       B.     A failure to make alterations in such a manner that, to the
24   maximum extent feasible, the altered portions of the facility are readily accessible
25
     to and usable by individuals with disabilities, including individuals who use
26
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
27
     the altered area and the bathrooms, telephones, and drinking fountains serving the
28                                            -8-
                                            COMPLAINT
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 1
     altered area, are readily accessible to and usable by individuals with disabilities [42
 2   U.S.C. § 12183(a)(2)].
 3                       C.    Where an entity can demonstrate that the removal of a
 4   barrier is not readily achievable, a failure to make such goods, services, facilities,
 5   privileges, advantages, or accommodations available through alternative methods
 6   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
 7
                         D.    A failure to make reasonable modifications in
 8
     policies, practices, or procedures, when such modifications are necessary to afford
 9
     such goods, services, facilities, privileges, advantages, or accommodations to
10
     individuals with disabilities, unless the entity can demonstrate that making such
11
     modifications would fundamentally alter the nature of such goods, services,
12
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
13

14
     12182(b)(2)(A)(ii)].

15                27.    The ADA, the ADAAG’s 1991 Standards (the “1991
16   Standards”) and 2010 Standards (the “2010 Standards”), and the California
17   Building Code (the “CBC”) contain minimum standards that constitute legal
18   requirements regarding wheelchair accessibility at places of public
19   accommodation:
20                       A.    If parking spaces are provided for self-parking by
21
     employees or visitors, or both, then the subject property must provide at least the
22
     minimum required number of accessible parking spaces.Accessible parking
23
     spaces must be marked to define their width and must have an adjacent ADA
24
     compliant access aisle. Accessible parking spaces must be at least 96 inches wide
25
     and van parking spaces must be at least 132 inches wide except that van parking
26
     spaces can be 96 inches wide where the access aisle is not less than 96 inches
27

28                                           -9-
                                           COMPLAINT
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 1
     wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
 2   Subject Property does not comply with the ADA.
 3                      B.    To qualify as a reserved handicap parking space, the
 4   space must be properly marked and designated. Under the ADA, the method,
 5   color of marking and length of the parking space are to be addressed by state or
 6   local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
 7
     and 503].
 8
                        C.    To properly and effectively reserve a parking space for
 9
     persons with disabilities, each parking space must be at least 216 inches in length
10
     [CBC § 11B-502.2].
11
                        D.    Each parking space reserved for persons with disabilities
12
     shall be identified by a reflectorized sign permanently posted immediately
13

14
     adjacent to and visible from each stall or space, consisting of the International

15   Symbol of Accessibility in white on a dark blue background. The sign shall not be
16   smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
17   shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
18   the sign to the parking space finished grade. Signs may also be centered on the
19   wall at the interior end of the parking space. An additional sign or additional
20   language below the symbol of accessibility shall state "Minimum Fine $250"
21
     [2010 Standards § 502.6; CBC § 1129B.4].
22
                        E.    Signs identifying accessible parking spacesmust include
23
     the International Symbol of Accessibility [2010 Standards §§ 502.6].
24
                        F.    To properly and effectively reserve a parking space for
25
     persons with disabilities, the surface of the access aisle must have a blue
26

27

28                                          -10-
                                          COMPLAINT
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 1
     border; the words “NO PARKING” in letters at least a foot high must be
 2   painted on the access aisle [CBC § 1129B.3].
 3                     G.    One in every eight accessible spaces, but not less than
 4   one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
 5   wide minimum placed on the side opposite the driver’s side when the vehicle is
 6   going forward into the parking space and shall be designated van accessible. Van
 7
     accessible spaces must have an additional sign or additional language stating "Van
 8
     Accessible" below the symbol of accessibility. Signs identifying accessible
 9
     parking spaces must be located so they cannot be obscured by a vehicle parked in
10
     the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
11
     and B4].
12
                       H.    At least one accessible route must be provided from
13

14
     public transportation stops, accessible parking, and accessible passenger

15   loading zones, and public streets or sidewalks to the accessible building
16   entrance they serve. The accessible route must, to the maximum extent
17   feasible, coincide with the route for the general public, must connect
18   accessible buildings, facilities, elements, and spaces that are on the same
19   site, and at least one accessible route must connect accessible building or
20   facility entrances with all accessible spaces and elements and with all
21
     accessible dwelling units within the building or facility [1991 Standards
22
     §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
23
                 28.   The Defendants have failed to comply with minimum
24
     ADA standards and have discriminated against Plaintiff on the basis of
25
     Plaintiff’s mobility disability. Each of the barriers and accessibility
26
     violations set forth above is readily achievable to remove, is the result of an
27

28                                         -11-
                                         COMPLAINT
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 1
     alteration that was completed without meeting minimum ADA standards,
 2   or could be easily remediated by implementation of one or more available
 3   alternative accommodations. Accordingly, the Defendants have violated
 4   the ADA.
 5               29.    The Defendants are obligated to maintain in operable
 6   working condition those features of the Subject Property’s facilities and
 7
     equipment that are required to be readily accessible to and usable by
 8
     Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
 9
     36.211(a)]. The Defendants failure to ensure that accessible facilities at the
10
     Subject Property were available and ready to be used by the Plaintiff
11
     violates the ADA.
12
                 30.    The Defendants have a duty to remove architectural
13

14
     barriers where readily achievable, to make alterations that are consistent

15   with minimum ADA standards and to provide alternative accommodations
16   where necessary to provide wheelchair access. The Defendants benign
17   neglect of these duties, together with their general apathy and indifference
18   towards persons with disabilities, violates the ADA.
19               31.    The Defendants have an obligation to maintain policies,
20   practices and procedures that do not discriminate against the Plaintiff and
21
     similarly situated persons with mobility disabilities on the basis of their
22
     disabilities. The Defendants have maintained and continue to maintain a policy of
23
     disregarding their obligations under the ADA, of allocating resources for
24
     improvements insufficient to satisfy legal requirements regarding accessibility
25
     improvements, of failing to conduct ADA self-inspections or create ADA
26
     compliance plans, of causing alterations to be made to the Subject Property in
27

28                                          -12-
                                          COMPLAINT
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 1
     disregard of ADA requirements, and of failing and refusing to make necessary
 2   accommodations for persons with mobility disabilities at the Subject Property, in
 3   violation of the ADA.
 4                32.    The Defendants wrongful conduct is continuing in that
 5   Defendants continue to deny full, fair and equal access to their business
 6   establishment and full, fair and equal accommodations, advantages,
 7
     facilities, privileges and services to Plaintiff as a disabled person due to
 8
     Plaintiff’s disability. The foregoing conduct constitutes unlawful
 9
     discrimination against the Plaintiff and other mobility disabled persons
10
     who, like the Plaintiff, will benefit from an order that the Defendants
11
     remove barriers and improve access by complying with minimum ADA
12
     standards.
13

14
                              SECOND CAUSE OF ACTION
                              Violations of the Unruh Rights Act
15                              [Cal.Civil Code§ 51, et seq.]
16                            By Plaintiff against all Defendants
17
                  33.    Plaintiff re-alleges and incorporates by reference as though
18

19
     fully set forth herein the allegations contained in all prior paragraphs of this
20   complaint.
21                34.    The foregoing violations of the ADA constitute per se
22   violations of the Unruh Act [Cal.Civil Code§ 51(f)].
23                35.    Plaintiff personally encountered Barriers at the Subject
24   Property and has experienced, difficulty, discomfort or embarrassment or
25
     has been reasonably dissuaded or deterred from accessing the Subject
26
     Property on particular occasions due to ADA violations which would have
27

28                                            -13-
                                            COMPLAINT
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 1
     actually denied Plaintiff full and equal access if he had attempted to access
 2   the Subject Property on those particular occasions.
 3               36.   Due to the unlawful discrimination set forth above,
 4   Plaintiff has been denied the right and entitlement to full and equal
 5   accommodations, advantages, facilities, privileges or services by the
 6   Defendants at the Subject Property in violation of the Unruh Act.
 7

 8
                               PRAYER FOR RELIEF
 9
           Plaintiff prays to this Court for injunctive, declaratory and all other
10
     appropriate relief under the ADA and the Unruh Act, including but not
11
     limited to reasonable attorney’s fees, litigation expenses and costs of suit
12
     pursuant to 42 U.S.C. § 12205 and Cal. Civil Code § 52.
13

14
           Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
           not seek injunctive relief under the Disabled Persons Act at all.
15

16
     Respectfully submitted,

17
     Dated: 07/16/2020     LAW OFFICES OF ROSS CORNELL, APC
18

19
                                   By: /s/ Ross Cornell
20                                     Ross Cornell, Esq.,
21                                     Attorneys for Plaintiff,
                                       Bryan Estrada
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23

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28                                        -14-
                                        COMPLAINT
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